J. B. ROLATER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Rolater v. CommissionerDocket No. 9379.United States Board of Tax Appeals9 B.T.A. 73; 1927 BTA LEXIS 2666; November 14, 1927, Promulgated *2666  Respondent's action in disallowing a loss alleged to have been sustained upon sale of personal property, approved.  R. L. Slaughter, Esq., for the petitioner.  D. H. Green, Esq., for the respondent.  GREEN*73  In this proceeding the petitioner seeks a redetermination of his income tax for the calendar year 1921, for which the respondent determined a deficiency in the amount of $945,81.  The question is whether the petitioner sustained a loss of $5,000 on the sale of certain *74  hospital furnishings and equipment.  Petitioner in his computation entirely disregarded depreciation upon the theory that none had been sustained.  Respondent having determined the proper rate of depreciation to be 5 per cent per annum, reduced the basis by the sum of the annual allowances at that rate.  FINDINGS OF FACT.  The petitioner is an individual residing at Oklahoma City, Okla., where he is engaged in the practice of medicine and surgery and also in making and caring for real estate investments.  During the year 1906, the Rolater Hospital was built and furnished and in 1911 certain additions were made to the furnishings and equipment of this hospital. *2667  The title to the property was taken in, and remained in, the name of petitioner's wife.  In 1911 the hospital, together with its furniture and equipment, was rented to the State of Oklahoma for a period of 10 years, at a rental of $500 per month.  The State agreed to return the furniture and equipment to the lessor at the expiration of the lease in as good condition as when originally received, excepting the usual wear and tear incident to the use of the property.  In 1920, the State of Oklahoma terminated the lease and paid the petitioner $14,438.13 in full settlement for the termination of the lease and certain damages to the hospital building and equipment.  The petitioner returned as income in the joint return for himself and his wife, for the year 1920, $5,550.17 of this amount after having spent $8,887.96 in painting and renovating the hospital building and repairing and renewing the furnishings and equipment of the hospital.  In 1921, the petitioner sold the furnishings and equipment of the hospital for $7,500.  It is alleged by the petitioner that the furnishings and equipment had a value of $12,500 as of March 1, 1913; that at the time of the sale the furnishings and equipment*2668  were still worth $12,500; and that as a result of the sale a loss of $5,000 was suffered, which was claimed as a loss in the income-tax return for the year 1921.  The respondent accepted the $12,500 value placed on the equipment as of March 1, 1913, but in computing the gain or loss from the sale depreciated the March 1, 1913, value at a rate of 5 per cent for each year during the period from March 1, 1913, to the date of the sale in 1921 and reduced the basis by that amount.  This computation disclosed no gain or loss on the transaction.  OPINION.  GREEN: The petitioner alleges that the respondent erred in not allowing as a deductible loss in the taxable year 1921 the difference between the March 1, 1913, value of the hospital furniture and *75  equipment, which has been admitted by both parties to have been $12,500, and the sale price in 1921 of $7,500.  The Rolater Hospital was built in 1906.  In 1911 certain additions were made to the furniture and equipment and in this year the building and hospital equipment were leased to the State of Oklahoma for a period of 10 years at a rental of $500 per month, the lessee agreeing to return the hospital and equipment at the expiration*2669  of the lease in as good condition as when originally received, excepting the usual wear and tear incident to the use of the property.  Prior to the expiration of the lease, the State of Oklahoma canceled the lease and paid as damages $14,438.13.  This amount was accepted in full settlement for the cancellation of the lease, as well as for certain damages to the hospital building and equipment.  In the year 1920, the petitioner expended $8,887.96 in painting and repairing the hospital building and repairing and renewing the hospital equipment.  The record is silent as to how this amount was expended.  It is impossible to determine the amount that was expended in repairing the building or the amount expended in repairs on and replacements of the equipment of the hospital.  Both parties have agreed that the hospital equipment had a value of $12,500 on March 1, 1913.  The petitioner alleges that the respondent erred in computing depreciation on this property at the rate of 5 per cent per annum from March 1, 1913, to the date of the sale.  The petitioner offered no evidence to show that the rate used by the Commissioner was not correct. *2670  He contends, however, that the expenditures made in 1920 put the equipment in as good condition as it was on March 1, 1913, and that in effect no depreciation has been sustained.  The Board held in the , that due allowance must be made in ascertaining gain or loss upon the sale of capital assets, for exhaustion, wear and tear, and obsolescence occurring during the period of ownership, whether or not deductions have been taken therefor in prior tax returns.  In the case of the , decided May 16, 1927, by the Supreme Court of the United States, Mr. Justice Brandies said: The depreciation charged is the measure of the cost of the part which has been sold.  When the plant is disposed of after years of use, the thing sold is not the whole thing originally acquired.  The amount of the depreciation must be deducted from the original cost of the whole in order to determine the cost of that disposed of in the final sale of properties.  Any other construction would permit a double deduction for the loss of the same capital assets.  In the instant case, the proper method of determining*2671  the loss, if any, on the transaction would be to add to the depreciated March 1, 1913, value of the hospital equipment the cost of the replacements made, and after deducting depreciation, compare the result with the *76  selling price of the property in 1921.  Since the petitioner has not offered any evidence to show that the rate of depreciation used by the respondent was incorrect and the record does not show what portion of the expenditures in 1920 were of a capital nature, we have no alternative but to approve the respondent's determination.  Judgment will be entered for the respondent.Considered by STERNHAGEN and ARUNDELL.  